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 101-7-NFR
 /2009
 /2010
 2ems Inc.
                                                        UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF ILLINOIS
                                                                EASTERN DIVISION

                  In Re:                                              §
                                                                      §
                  JOHN M PUGA                                         §     Case No. 14-38573
                                                                      §
                                      Debtor                          §

                                                    NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                      APPLICATIONS FOR COMPENSATION
                                                        AND DEADLINE TO OBJECT (NFR)

                          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Peter N. Metrou,
                  Trustee, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
                  professionals have filed final fee applications, which are summarized in the attached Summary of
                  Trustee's Final Report and Applications for Compensation.

                          The complete Final Report and all applications for compensation are available for inspection at
                  the Office of the Clerk, at the following address:
                                                 219 S. Dearborn Street
                                                 Chicago, IL 60604
                  Any person wishing to object to any fee application that has not already been approved or to the
                  Final Report, must file a written objection within 21 days from the mailing of this notice, serve a
                  copy of the objections upon the trustee, any party whose application is being challenged and the
                  United States Trustee. A hearing on the fee applications and any objection to the Final Report
                  will be held at 10:00 AM on 03/23/2018 in Courtroom ,
                                                 Joliet City Hall
                                                 150 West Jefferson Street, 2nd Floor
                                                 Joliet, Illinois 60432
                  If no objections are filed, upon entry of an order on the fee applications, the trustee may pay
                  dividends pursuant to FRBP 3009 without further order of the Court.

                  Date Mailed: 02/22/2018                                 By: /s/ Peter N. Metrou
                                                                                            Chapter 7 Trustee


                  Peter N. Metrou, Trustee
                  123 W. Washington St.
                  Suite 216
                  Oswego, IL 60543




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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                          )       CASE NO. 14-38573
                                                )       CHAPTER 7
JOHN M. PUGA                                    )
      Debtor(s).                                )       JUDGE PAMELA HOLLIS
                                                )       (Joliet)

                                     NOTICE OF MOTION

To:    See Attached Service List

                      TRUSTEE’S CERTIFICATE OF SERVICE FOR
                        NOTICE OF TRUSTEE’S FINAL REPORT


                                     PROOF OF SERVICE

        I, the undersigned attorney, certify that I served a copy of this Notice and attached Motion
upon the person(s) listed above by mailing the same in a properly addressed envelope, postage
prepaid, and placed in a U.S. depository in Oswego, Illinois on the 22nd day of February, 2018,
unless a copy was served electronically which occurs automatically upon the filing of the aforesaid
document with the Bankruptcy Clerk of the Court.

                                                /s/ Peter N. Metrou
                                              Bankruptcy Trustee


Prepared by:
PETER N. METROU
Metrou & Associates, P.C.
123 W. Washington St., Ste. 216
Oswego, Illinois 60543
(630) 551-7171




                                                    1
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Bank Of America
Attn: Bankruptcy NC4-105-02-77               Bank of America, N.A.               bass & associates
Po Box 26012                                 P O Box 982284                      3936 e. fort lowell road
Greensboro, NC 27420-6012                    El Paso, TX 79998-2284              Tucson, AZ 85712-1083



                                                                                 Capital Management Services
bass & associates                            c/o Manley, Deas & Kochalski, LLC
                                                                                 726 Exchange St.
698 1/2 South Ogden Ct.                      P.O. Box 165028
                                                                                 #700
Buffalo, NY 14206-2317                       Columbus, Ohio 43216-5028
                                                                                 Buffalo, NY 14210-1464


Cavalry Investments, LLC as assignee of
                                             Chase                               Citi Flex
Bank of America/FIA Card Services NA
                                             201 N. Walnut St//De1-1027          Po Box 6241
500 Summit Lake Drive, Ste 400
                                             Wilmington, DE 19801-2920           Sioux Falls, SD 57117-6241
Valhalla, NY 10595



Citi                                         Citibank, N.A.                      Credit First NA
Po Box 6241                                  701 East 60th Street North          Po Box 818011
Sioux Falls, SD 57117-6241                   Sioux Falls, SD 57104-0493          Cleveland, OH 44181-8011



                                             Discover Bank
Credit First                                                                     Discover Fin Svcs Llc
                                             DB Servicing Corporation
Po Box 818011                                                                    Po Box 15316
                                             PO Box 3025
Cleveland, OH 44181-8011                                                         Wilmington, DE 19850-5316
                                             New Albany, OH 43054-3025


East Bay Funding, LLC its successors and     eCAST Settlement Corp,              Gemb/walmart Dc
ass                                          Assignee of Capital One, N.A.       Attention: Bankruptcy
as assignee of CR Evergreen, LLC             c/o Bass & Associates, P.C.         Po Box 103106
Resurgent Capital Services                   3936 E. Ft. Lowell Rd, Suite #200   Roswell, GA 30076-9106
PO Box 288                                   Tucson, AZ 85712-1083
Greenville, SC 29602-0288
                                             John P Carlin                       LVNV Funding, LLC its successors and
John M Puga                                                                      assigns
                                             Suburban Legal Group PC
297 Braemar Gln                                                                  assignee of Springleaf Financial
                                             1305 Remmington Road; Suite C
Bolingbrook, IL 60440-3052                                                       Services Of Indiana, Inc.
                                             Schaumburg, IL 60173-4820
                                                                                 Resurgent Capital Services
                                                                                 PO Box 10587
National City                                                                    Greenville, SC 29603-0587
                                             northland group
Attention: Bankruptcy Department
                                             P.O. Box 390905
6750 Miller Rd
                                             Minneapolis, MN 55439-0905
Brecksville, OH 44141-3262



                                             PNC BANK N.A.                       Sears/cbsd
                                             PO BOX 94982                        Po Box 6189
                                             CLEVELAND, OH 44101-4982            Sioux Falls, SD 57117-6189



                                             U.S. Bank Home Mortgage
SPRINGLEAF FINANCIAL SERVICES                                                    U.S. BANK NATIONAL ASSOCIATION
                                             A division of U.S. Bank N.A.
P O BOX 3251                                                                     14841 Dallas Parkway, Suite 300
                                             4801 Frederica Street
EVANSVILLE IN 47731-3251                                                         Dallas, TX 75254-7883
                                             Owensboro, Kentucky 42301-7441
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Sent Via ECF



U.S. Bankruptcy Court                 Patrick S Layng                         John P Carlin
Eastern Division                      Office of the U.S. Trustee, Region 11   Suburban Legal Group PC
219 S Dearborn                        219 S Dearborn St                       1305 Remmington Road; Suite C
7th Floor                             Room 873                                Schaumburg, IL 60173-4820
Chicago, IL 60604-1702                Chicago, IL 60604-2027
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                                              UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF ILLINOIS
                                                      EASTERN DIVISION


      In Re:                                                                §
                                                                            §
      JOHN M PUGA                                                           §         Case No. 14-38573
                                                                            §
                             Debtor                                         §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                     29,000.00
                   and approved disbursements of                                                                      $                     13,560.28
                                                            1
                   leaving a balance on hand of                                                                       $                     15,439.72


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: Peter N. Metrou                                    $             3,650.00 $                          0.00 $              3,650.00
       Trustee Expenses: Peter N. Metrou                                $                 39.33 $                         0.00 $                    39.33
       Attorney for Trustee Fees: FactorLaw                             $             9,102.50 $                  9,102.50 $                         0.00
       Attorney for Trustee Expenses: FactorLaw                         $               207.57 $                    207.57 $                         0.00
       Other: Kim Wirtz                                                 $             4,000.00 $                  4,000.00 $                         0.00
                   Total to be paid for chapter 7 administrative expenses                                             $                       3,689.33
                   Remaining Balance                                                                                  $                     11,750.39




____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                            NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                            NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 134,441.68 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 8.7 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                 Allowed Amount        Interim Payment to
     Claim No.          Claimant                 of Claim              Date               Proposed Payment
                        CAVALRY
                        INVESTMENTS, LLC
     1                  AS ASSIGNEE OF          $         45,613.99 $                 0.00 $           3,986.73
     2                  PNC BANK N.A.           $         16,916.99 $                 0.00 $           1,478.57
                        ECAST SETTLEMENT
     3                  CORP,            $                  1,553.17 $                0.00 $             135.75
     4                  DISCOVER BANK           $           4,197.26 $                0.00 $             366.85
     5                  DISCOVER BANK           $         11,468.23 $                 0.00 $           1,002.34
     6                  CREDIT FIRST NA         $           1,241.02 $                0.00 $             108.47
                        BANK OF AMERICA,
     7                  N.A.                    $         25,818.15 $                 0.00 $           2,256.54
     8                  CITIBANK, N.A.          $         13,709.57 $                 0.00 $           1,198.24
                        LVNV FUNDING, LLC
                        ITS SUCCESSORS
     9                  AND ASSIGNS AS    $                 6,047.34 $                0.00 $             528.55




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                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
                        EAST BAY FUNDING,
                        LLC ITS SUCCESSORS
     10                 AND ASSIGNS        $                6,651.34 $               0.00 $              581.33
     12                 CREDIT FIRST NA         $           1,224.62 $               0.00 $              107.02
                Total to be paid to timely general unsecured creditors                $               11,750.39
                Remaining Balance                                                     $                     0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE


                                              Prepared By: /s/ Peter N. Metrou
                                                                            Chapter 7 Trustee


     Peter N. Metrou, Trustee
     123 W. Washington St.
     Suite 216
     Oswego, IL 60543


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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